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 1                                                        JUDGE RICARDO S. MARTINEZ
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8   UNITED STATES OF AMERICA,                     ) NO. CR06-106 RSM
                                                   )
 9                          Plaintiff,             )
                                                   )
10                                                 ) ORDER GRANTING STIPULATED
                    vs.                            ) MOTION TO CONTINUE TRIAL
11                                                 )
     NORMAN GONZALES,                              )
12                                                 )
                            Defendant.             )
13                                                 )
14
            THE COURT having considered the stipulated motion of the parties, the records
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     and files herein, the Court hereby makes the following findings:
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            1.   The Court finds that a failure to grant the continuance would deny counsel
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     the reasonable time necessary for effective preparation, taking into account the
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     exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
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            2.   The Court further finds that the ends of justice will be served by ordering a
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     continuance in this case, that a continuance is necessary to insure effective trial
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     preparation and that these factors outweigh the best interests of the public in a more
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     speedy trial, within the meaning of 18 U.S.C. § 3161(h)(8)(A).
23
     //
24
     //
25
     //
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                                                                      FEDERAL PUBLIC DEFENDER
     ORDER GRANTING STIPULATED                                            1601 Fifth Ave., Suite 700
     MOTION TO CONTINUE TRIAL - 1                                              Seattle, Washington 98101
     (Norman Gonzales; CR06-106 RSM)                                                      (206) 553-1100
         Case 2:06-cr-00106-RSM         Document 78      Filed 05/16/06   Page 2 of 2



 1          IT IS THEREFORE ORDERED that the trial date for Norman Gonzales, Jecer
 2   Belen and Rolando Hernandez is extended from June 5, 2006, to July 10, 2006, and
 3   that the time between the date of this Order and the new trial date be excludable time
 4   under the Speedy Trial Act pursuant to Title 18, United States Code, Sections
 5   3161(h)(8)(A), 3161(h)(8)(B)(I), and 3161(h)(8)(B)(ii).
 6          Pretrial motions shall be filed by June 8, 2006.
 7

 8          DONE this 16 day of May 2006.
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                                                  A
                                                  RICARDO S. MARTINEZ
                                                  UNITED STATES DISTRICT JUDGE
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     Presented by:
18

19   s/Nancy Tenney
     WSBA No. 35304
20   Attorney for Norman Gonzales
     Federal Public Defender’s Office
21   1601 Fifth Ave., Suite 700
     Seattle, WA 98101
22   206/553-1100
     206/553-0120
23   nancy_tenney@fd.org
24

25

26

                                                                    FEDERAL PUBLIC DEFENDER
     ORDER GRANTING STIPULATED                                          1601 Fifth Ave., Suite 700
     MOTION TO CONTINUE TRIAL - 2                                            Seattle, Washington 98101
     (Norman Gonzales; CR06-106 RSM)                                                    (206) 553-1100
